Case 4:04-cv-02688-JEJ Document 174-2 Filed 09/09/05 Page 1 of 2

IN THE UNITED STATES DISTRICT COURT
FOR THE MIDDLE DISTRICT OF PENNSYLVANIA

TAMMY KITZMILLER, et al.,
Plaintiffs, Civil No. 04-CV-2688
ve Filed Electronically
DOVER AREA SCHOOL ) Hon. John E. Jones, IIT
DISTRICT, et al., )
Defendants. )
)
ORDER
AND NOW, this day of , 2005, after

consideration of the Motion of Courtroom Television Network LLC (“Court
TV”) for Reconsideration of this Court’s Memorandum and Order of
September 7, 2005, IT IS HEREBY ORDERED that the Motion is
GRANTED as follows:

l. The Memorandum and Order of this Court dated
September 7, 2005 is hereby WITHDRAWN.

2. The unopposed Motion of Court TV to Intervene in this
matter for the limited purpose of requesting permission to record and telecast

the trial of this matter is GRANTED.

 
Case 4:04-cv-02688-JEJ Document 174-2 Filed 09/09/05 Page 2 of 2

3. Court TV’s Unopposed Motion to Record and Telecast
the trial of these proceedings, which was filed as Exhibit 1 to the Motion to
Intervene on September 2, 2005, is DEEMED FILED.

4, Court TV’s Unopposed Motion to Record and Telecast
the trial is GRANTED.

BY THE COURT:

 

John E. Jones, ITT
United States District Judge

 
